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               Transcript of the Testimony of
                           Rafael Anchia


                                Date:
                           August 22, 2022



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